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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION


    IN RE ZETIA (EZETIMIBE) ANTITRUST
    LITIGATION
                                            MDL No. 2:18-md-2836
    This document relates to:

    All Actions



       PURCHASERS’ OPPOSITION TO DEFENDANTS’ JOINT MOTION TO EXCLUDE
        PROPOSED EXPERT OPINIONS AND TESTIMONY OF PLAINTIFFS’ GENERIC
              LAUNCH TIMING EXPERTS JON CLARK AND TODD CLARK
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            The direct purchaser class plaintiffs, end-payor class plaintiffs, and retailer plaintiffs

   (collectively, the “purchasers”) submit this joint opposition to Defendants’ Joint Motion to

   Exclude Proposed Expert Opinions and Testimony of Plaintiffs’ Generic Launch Timing Experts

   Jon Clark and Todd Clark (ECF No. 1040) (“Defendants’ Motion”) and Memorandum in Support

   (ECF No. 1051) (“Defs’ Mem.”).

   I.       INTRODUCTION

            Based on their experience in the pharmaceutical industry, Jon Clark and Todd Clark are

   well qualified to render the opinions they offer in this case. Jon Clark is an FDA regulatory expert

   with thirty-five years of experience in the pharmaceutical industry who worked at the FDA for

   twenty-one years and has extensive experience working with and advising generic manufacturers

   seeking FDA approval. He opines on: (1) the earliest date on which Glenmark’s ANDA was

   eligible for approval referencing Glenmark’s Process I DMF; (2) the earliest date on which

   Glenmark’s ANDA was eligible for approval referencing Glenmark’s Process II DMF; (3) the

   earliest date on which Glenmark’s ANDA was eligible for approval referencing the MSN DMF;

   (4) two alternative ways in which a reasonable generic manufacturer in Glenmark’s position could

   have sought to obtain FDA approval to use MSN’s API and the timing of the resulting FDA

   approvals; and (5) generic manufacturers’ incentive to request FDA approval at the earliest

   opportunity.1 Todd Clark is a pharmaceutical consultant, who has been retained by numerous


        1
         PX042, Expert Report of Jon E. Clark (“J. Clark Report”), ¶¶ 3-7, 13, 104-109; PX043,
   Rebuttal Report of Jon E. Clark (“J. Clark Rebuttal”), at VI. Citations to PX001–PX040 herein
   refer to the exhibits to the August 10, 2020 Declaration of Thomas M. Sobol in Support of
   Purchasers’ Motions for Partial Summary Judgment and to Exclude the Opinions and Testimony
   of Defendants’ Experts (ECF Nos. 1086, 1090 & 1093); PX041-PX219 are the exhibits to the
   Declaration of Thomas M. Sobol in Support of Purchasers’ Opposition to Merck and Glenmark
   Defendants’ Motions for Summary Judgment, filed herewith. “MDX” numbers refer to the exhibits
   to the August 10, 2020 Declaration of Samuel G. Liversidge in Support of Merck’s Motion for
   Summary Judgment (ECF Nos. 1079, 1082-1084 & 1087), and “GDX” numbers refer to the
   exhibits to the August 10, 2020 Declaration of Steven A. Reed in Support of the Glenmark



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   brand and generic drug companies, biotech firms, investment banks, and health technology

   services companies to offer advice on numerous issues, including regulatory compliance, drug

   development, and market entry. He opines on the incentives and ability of Teva Pharmaceuticals

   USA, Inc. and Sandoz, Inc. to introduce generic Zetia earlier absent the challenged reverse

   payments made by Merck to Glenmark to avoid the risk of competition and delay generic Zetia.2

               Defendants challenge Jon Clark’s opinion that a reasonable generic manufacturer in

   Glenmark’s position, with an ANDA that is eligible for approval, would have requested final

   approval at its first opportunity, arguing that this opinion is unreliable because there is no basis for

   it and because Glenmark did not act to get approval in the way that Jon Clark opines a reasonable

   generic manufacturer would be expected to act. Defendants’ argument is wrong both factually and

   legally and should be rejected by the Court. Similarly, Defendants’ argument that Todd Clark’s

   opinion should be excluded because he did not opine that Teva and Sandoz

                                                       absent Merck and Glenmark’s illegal agreement

   is contrary to the prevailing law and also should be rejected by the Court.

   II.         RELEVANT REGULATORY INFORMATION

               An Abbreviated New Drug Application (“ANDA”) is submitted to the Food and Drug

   Administration (“FDA”) for the review and potential approval of a generic drug product.3 The

   ANDA approval process requires less time and resources than the approval process of a New

   Drug Application (“NDA”), largely because the ANDA applicant relies on the FDA’s

   previous finding of safety and efficacy for the drug.4 All drug products (whether approved via


   Defendants’ Motion for Summary Judgment on All Claims (ECF Nos. 1039 & 1050).
         2
             PX044, Expert Report of Todd Clark (“T. Clark Report”), ¶¶ 3-4, 15.
         3
             PX042, J. Clark Report, ¶ 22.
         4
             Id., ¶ 26.



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   an NDA or an ANDA) contain one or more active pharmaceutical ingredients (“API”), which are

   the ingredients in the drug product that provide the pharmacological effect.5 The API supplier and

   information about the quality of the API must be approved as part of the application, but is included

   in a separate Drug Master File (“DMF”) referenced by the application.6 DMFs are prepared and

   submitted to the FDA by the entity that makes the API, and generally contain all of the information

   required in the Chemistry, Manufacturing, and Controls (CMC) section of the ANDA with respect

   to the API.7 If a company seeks to use a different API manufacturer than was previously approved

   by the FDA, the company must submit a supplement to its ANDA for FDA approval.8

            An ANDA product cannot be commercially marketed until the application has received

   final approval from the FDA.9 Patents and several types of exclusivities may prevent final

   approval of an ANDA.10 Where patents or other exclusivity barriers are in place, but the FDA

   would otherwise approve the ANDA, the FDA grants tentative approval of the ANDA.11 A

   tentative approval does not allow the applicant to market the generic drug product, and final

   approval will not be granted until the patent or exclusivity issues have been resolved.12 One

   exclusivity that will prevent the FDA from granting a final approval of an ANDA is the 180-day

   marketing exclusivity of the first ANDA filer (the applicant that is first to submit a substantially




      5
          Id., ¶ 27.
      6
          Id., ¶¶ 27-28.
      7
          Id., ¶ 43.
      8
          Id., ¶ 27.
      9
          Id., ¶ 29.
      10
           Id.
      11
           Id.
      12
           Id.



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   complete ANDA that contains a paragraph IV certification).13 Subsequent ANDA filers will not

   be granted final approval and will not be able to market their generic drug product until expiration

   of the 180-day exclusivity period.14

   III.         RELEVANT FACTUAL BACKGROUND

                A.          Glenmark’s ANDA For Generic Zetia And Its Alternate API Supplier

                Glenmark filed ANDA 78560 for generic Zetia (ezetimibe) tablets, 10 mg, on October 25,

   2006.15 Glenmark’s ANDA utilized API manufactured internally under DMF 19717 (the “Process

   I DMF”).16 Merck claimed three patents associated with Zetia, Patent Nos. 5,846,966, RE7721 and

   7,030,106, and Glenmark asserted a Paragraph IV certification for all three patents.17 Merck sued

   Glenmark for infringement of the RE7721 patent on March 23, 2007.18

                On April 24, 2009, the FDA tentatively approved Glenmark’s ANDA.19 By obtaining

   tentative approval within 30 months of the ANDA’s receipt by the FDA, Glenmark was eligible

   for first-to-file, 180 day exclusivity.20 In August and September of 2011, Glenmark sought to add

   DMF 24825 (the “Process II DMF”), another internally manufactured API, to its ANDA.21

   Glenmark requested final approval of its ANDA on October 10, 2014, which the FDA granted on




          13
               Id., ¶ 42.
          14
               Id.
          15
               PX178, Glenmark ANDA Cover Letter & 356h.
          16
               PX179, Glenmark ANDA Section VIII.
          17
               PX134, Patent Certification & Exclusivity Statement.
          18
               PX180, Notice of Paragraph IV Certification.
          19
               PX143, Glenmark Tentative Approval Letter.
          20
               PX042, J. Clark Report, ¶ 71.
          21
        PX165, Aug. 5, 2011 Gratuitous Preapproval Amendment; PX162, Sept. 2, 2011 Gratuitous
   Preapproval Amendment.



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    June 26, 2015.22 In July of 2015, Glenmark filed Prior Approval Supplements seeking approval to

    use API manufactured by MSN Laboratories, DMF 21554 (the “MSN DMF”).23 The FDA

    approved Glenmark’s requests to add the MSN DMF in early September of 2015.24

             As early as 2007 and 2008, even as Glenmark sought to develop API internally, it was

    exploring external sources of API.25 By 2008, Glenmark received pricing from MSN for both

    R&D and commercial lots of API.26 Glenmark shared its internal API specifications with MSN in

    early 2010 and received and evaluated three sample lots of MSN API by July of 2010.27 Glenmark

    had no issue with the quality of the MSN API at this time.28 In June and July of 2011, Glenmark

    and MSN engaged in negotiations for MSN to supply ezetimibe API.29 Between June of 2011 and

    November of 2011, MSN manufactured 4 batches (70.8 Kg) of ezetimibe API, which were

    sufficient to support the exhibit batches necessary for Glenmark to add MSN as an alternate API

    supplier.30




       22
         PX167, Glenmark Minor Amendment & Final Approval Request; PX145, Glenmark Final
    Approval Letter.
       23
            PX154, July 7, 2015 Glenmark PAS; PX153, July 10, 2015 Glenmark PAS.
       24
          PX155, Approval of Glenmark PAS for Alternate Drug Substance Source; PX147, Approval
    of Glenmark PAS for Alternative Supplier/Manufacturer.
       25
         PX166, Dec. 12, 2007 Email from Soni to Krishan; PX168, Jan. 24, 2008 Email from
    Coughlin to Soni; PX169, Jan. 25, 2008 Email from Soni to Coughlin.
       26
            Id.
       27
            PX152, July 20, 2020 Email from Vaithara to Krishna.
       28
            Id.; PX151, July 20, 2020 Email from Krishna to Vaithara.
       29
            PX171, July 7, 2011 Email from Reddy to Soni; PX172, July 6, 2011 Email from Reddy to
    Soni.
       30
            PX156, MSN Certificates of Analysis; PX042, J. Clark Report, ¶ 100.



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                    B.     Subsequent Generics

                    Teva filed its ANDA for generic Zetia on
                                                     32
                                                          Sandoz filed its ANDA for generic Zetia on April
               33                                                                      34



    IV.             THE EXPERT OPINIONS OF JON CLARK AND TODD CLARK

                    A.     Jon Clark

                    Jon Clark is an FDA regulatory expert with over thirty-five years of experience in the

    pharmaceutical industry.35 His experience includes twenty-one years at the FDA, including seven

    years as a Review Chemist and Electronic Submission Expert and ten years as Associate Director

    of Program Policy with the Office of Pharmaceutical Science, where he developed and

    implemented chemistry manufacturing and controls policy for the Center for Drug Evaluation and

    Research.36 While at the FDA, he reviewed more than 200 market applications (including NDAs

    and ANDAs), over 500 supplements and over 700 DMFs.37 At FDA, Jon Clark held several

    leadership roles setting guidelines on application, labeling and registration requirements and

    developing FDA “Guidance to Industry” documents.38

                    After leaving FDA, Jon Clark was Vice-President of Chemical Medicines and Industry

    Standards Collaboration at U.S. Pharmacopeia, which is a scientific nonprofit that sets compendial



          31
               PX208, Teva Original ANDA Submission.
          32
               PX209,
          33
               PX206, Sandoz ANDA Cover Letter.
          34
               PX207,
          35
               PX042, J. Clark Report, ¶ 3 & Ex. A.
          36
               Id., ¶ 3 & Ex. A.
          37
               Id., ¶ 4 & Ex. A.
          38
               Id., ¶ 4 & Ex. A.



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    standards for the identity, strength, quality and purity of medicines.39 Since 2016, Jon Clark has

    worked as an independent consultant, specializing in FDA regulatory requirements for NDA and

    ANDA approval.40            In this role, Jon Clark reviews NDA and ANDA submissions for

    pharmaceutical manufacturers and provides advice on FDA requirements on filings and

    approval.41

             In his Report and Rebuttal Report, Jon Clark’s opinions draw directly on his expertise

    concerning the regulatory requirements for ANDAs as well as his experience reviewing such

    applications, developing and implementing the guidelines governing such applications and

    working with generic manufacturers (both at the FDA and as a consultant) as they seek approval.

    Based on this expertise, Jon Clark opines:

            Glenmark’s ANDA referencing the Process I DMF was eligible for approval on April 25,
             2010.42 A reasonable generic manufacturer in Glenmark’s position would be incentivized
             to request FDA approval at the earliest opportunity. 43 If a reasonable generic manufacturer
             in Glenmark’s position had requested approval of its ANDA in May of 2010, it would have
             received final approval no later than January 2011.44

            The Process II DMF was found adequate by the FDA by September 27, 2013. Glenmark’s
             ANDA referencing the Process II DMF was eligible for approval on September 27, 2013.45

            The MSN DMF was found adequate by the FDA by August 15, 2013. If Glenmark’s
             ANDA had referenced the MSN DMF earlier, which a reasonable generic manufacturer in
             Glenmark’s position would have done, the ANDA referencing the MSN DMF would have
             been eligible for approval on August 15, 2013.46


       39
            Id., ¶ 6 & Ex. A.
       40
            Id., ¶ 7 & Ex. A.
       41
            Id., ¶ 7 & Ex. A.
       42
            Id., ¶ 104.
       43
            Id., ¶ 108.
       44
            PX043, J. Clark Rebuttal, at VI.
       45
            PX042, J. Clark Report, ¶ 106.
       46
            Id., ¶ 107.



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            A reasonable generic manufacturer in Glenmark’s position, with an ANDA that was
             eligible for approval referencing an adequate DMF (the Process I DMF), would request
             final approval at its first opportunity and, after obtaining final approval, would submit post
             approval supplements referencing the MSN DMF and the Process II DMF.47 Under this
             approach, a reasonable generic manufacturer in Glenmark’s position would have FDA
             approval to manufacture generic Zetia using both the MSN DMF and the Process II DMF
             by September 27, 2013. 48

            A reasonable generic manufacturer in Glenmark’s position could have alternatively
             requested final approval after both the MSN DMF and the Process II were found adequate
             by the FDA. Under this approach, Glenmark’s ANDA would have received final approval
             no later than June of 2014.49

             Although seemingly styled as a motion to exclude all of the opinions of Jon Clark,

    Defendants do not mention or otherwise challenge the following opinions that he offers:

            Glenmark’s ANDA was eligible for final approval on April 25, 2010.50

            If Glenmark had requested approval of its ANDA in May of 2010, it would have received
             final approval no later than January 2011.51

            The MSN DMF was adequate to support ANDA approval by August 15, 2013.52

            The Process II DMF was adequate to support ANDA approval by September 27, 2013.53

            A reasonable generic manufacturer in Glenmark’s position could have requested final
             approval after both the MSN DMF and the Process II DMF were found adequate by the
             FDA. Under this approach, Glenmark’s ANDA would have received final approval no
             later than June of 2014.54

    As none of the above opinions have been specifically challenged in Defendants’ Motion, they are



       47
            Id., ¶ 108.
       48
            PX043, J. Clark Rebuttal, at VI.
       49
            PX042, J. Clark Report, ¶ 109; PX043, J. Clark Rebuttal, at VI.
       50
            PX042, J. Clark Report, ¶ 104.
       51
            PX043, J. Clark Rebuttal, at VI.
       52
            PX042, J. Clark Report, ¶ 107.
       53
            Id., ¶ 106.
       54
            Id., ¶ 109.



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    not properly at issue and should not be excluded. Defendants only seek to exclude Jon Clark’s

    opinion that a reasonable generic manufacturer in Glenmark’s position, with an ANDA eligible

    for approval, would have requested final FDA approval at its first opportunity.

             B.          Todd Clark

             Todd Clark is a pharmaceutical consultant with twenty-five years of experience in the

    pharmaceutical industry.55 He has been retained by numerous branded and generic drug

    companies, biotech firms, investment banks, and health technology services companies to advise

    them on global strategies regarding drug development, clinical trial design, market entry,

    intellectual property issues, regulatory compliance, forecasting, marketing strategy, competitive

    intelligence, pricing, reimbursement, and allocation of promotional resources.56 He is the author

    of seven editions of PharmaHandbook — A Guide to the International Pharmaceutical Industry®,

    a single-source reference guide on pharmaceutical business and regulatory environments in 39

    countries, and three editions of GenericHandbook – A Guide to the US Generic Pharmaceutical

    Industry™, a comprehensive reference guide to the marketing, intellectual property, legal,

    regulatory, and competitive aspects of the generic drug sector in the United States.57

             Here, he opines that, if Glenmark had entered into a settlement agreement permitting it to

    introduce generic ezetimibe earlier than December 12, 2016, multiple subsequent generic

    manufacturers would have entered earlier than they actually entered.58 In particular, he opines that

    Teva and Sandoz would have obtained final approval and launched generic Zetia earlier if

    Glenmark’s 180-day exclusivity expired earlier than it actually did. Teva and Sandoz would have


       55
            PX044, T. Clark Report, ¶ 3.
       56
            Id., ¶ 3.
       57
            Id., ¶ 3, Ex. 1, CV at 1.
       58
            Id., ¶ 15.



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    of experience.’”66 When a party challenges an expert’s qualifications, “the test for exclusion is a

    strict one, and the purported expert must have neither satisfactory knowledge, skill, experience,

    training nor education on the issue for which the opinion is proffered.”67

               It is for the jury “to evaluate the reliability of the underlying data, assumptions, and

    conclusions.”68

    VI.        ARGUMENT

               A.     Jon Clark’s Opinions Satisfy Daubert And Are Admissible.

               Defendants ask the Court to exclude Jon Clark’s opinion that a reasonable firm in

    Glenmark’s position would seek to come to market as soon as possible because they claim that:

    (1) Jon Clark has no methodology to determine how a “reasonable generic firm” would act and

    his opinion is “impermissible ipse dixit”; (2) Jon Clark’s opinions are inconsistent with the facts

    because Glenmark did not seek approval as soon as possible, the way that he says a reasonable

    generic company would; and (3) Jon Clark’s opinion about what a reasonable generic company in

    Glenmark’s position would do is irrelevant. None of these arguments is sufficient to preclude Jon

    Clark’s relevant and helpful testimony about what a reasonable generic company seeking to come

    to market would do.




          66
          United States v. Wilson, 484 F.3d 267, 274 (4th Cir. 2007) (quoting Fed. R. Evid. 702
    advisory committee's note).
          67
           Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993) (quoting Thomas J. Kline, Inc. v. Lorillard,
    Inc., 878 F.2d 791, 799 (4th Cir. 1989)).
          68
           In re Urethane Antitrust Litig., 768 F.3d 1245, 1263 (10th Cir. 2014); see also Manpower,
    Inc. v. Ins. Co. of Pa., 732 F.3d 796, 806 (7th Cir. 2013) (“Rule 702[] . . . does not ordinarily
    extend to the reliability of the conclusions [an expert’s] methods produce – that is, whether the
    conclusions are unimpeachable.”) (quoting Stollings v. Ryobi Techs., Inc., 725 F.3d 753, 765 (7th
    Cir. 2013)); In re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827, 866 (N.D. Ill. 2010) (“The
    credibility and persuasiveness of Plaintiffs’ expert witnesses are issues best left to a factfinder.”).



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                     1.     Jon Clark’s Opinions Are Based On His Extensive Experience At The
                            FDA And His Review Of Regulatory Documents In The Case.

              Contrary to Defendants’ argument,69 Jon Clark has an adequate methodology and basis for

    his opinions. His opinions are based on his experience at the FDA and his understanding of the

    complex regulatory approval process for ANDAs. Accordingly, his opinions are appropriate under

    Rule 702.

              Experiential testimony like Jon Clark’s “does not lead to a conclusion that ‘experience

    alone—or experience in conjunction with other knowledge, skill, training or education—may not

    provide a sufficient foundation for expert testimony. To the contrary, the text of Rule 702 expressly

    contemplates that an expert may be qualified on the basis of experience.’”70 “[T]o be qualified

    under Rule 702, an experiential expert witness [must] explain how [his or her] experience leads to

    the conclusion reached, why [his or her] experience is a sufficient basis for the opinion, and how

    [his or her] experience is reliably applied to the facts.”71

              Jon Clark spent twenty-one years at the FDA, during which time he reviewed more than

    200 market applications (including NDAs and ANDAs), over 500 supplements and over 700

    DMFs.72       As part of these reviews, Jon Clark routinely corresponded with pharmaceutical

    manufacturers as they pursued the approval of their applications. At FDA, he developed and

    implemented numerous FDA policies for the Center for Drug Evaluation and Research, which

    included FDA “Guidance to Industry” documents and FDA guidelines for the review of NDAs,



        69
             Defs’ Mem. at 11.
        70
          United States v. Wilson, 484 F.3d 267, 274 (4th Cir. 2007) (quoting Fed. R. Evid. 702
    advisory committee's note).
        71
          Wood v. Credit One Bank, 277 F. Supp. 3d 821, 855–56 (E.D. Va. 2017) (quoting Fed. R.
    Evid. 702 advisory committee's note).
        72
             PX042, J. Clark Report, ¶¶ 3-4 & Ex. A.



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    ANDAs, and DMFs.73 In addition to his experience at FDA, Jon Clark has provided consulting

    services for numerous brand and generic manufacturers concerning the FDA regulatory

    requirements for achieving NDA and ANDA approvals.74 Jon Clark has substantial experience

    with what generic manufacturers do when they are trying to obtain FDA approval to come to

    market, because he has seen what they do while at the FDA and from his consulting practice.75

    Based on his expertise and the facts of record, Jon Clark identified the points in time at which

    earlier ANDA approval was available to Glenmark, referencing the Process I DMF, Process II

    DMF, and MSN DMF.76 Further, he identified the pathway for approval that a reasonable generic,

    seeking earlier approval, would take given the regulatory landscape that Glenmark faced.77

    Contrary to Defendants’ argument, Jon Clark did not need to have “worked at a generic firm” or

    to have had “decision-making responsibility for a generic firm’s [ANDA] strategy”78 to form his

    opinions in this case. Rather, while at the FDA and as a consultant, he has worked with scores of

    pharmaceutical manufacturers as they sought approval of their drug products, and he bases his

    opinions on how a reasonable generic would act based on that extensive and broad experience.79

             Defendants’ reliance on In re Namenda Direct Purchaser Antitrust Litig.80 is misplaced.



       73
            Id., ¶ 4 & Ex. A.
       74
            Id., ¶ 7 & Ex. A.
       75
            Id., ¶ 7 & Ex. A.
       76
            See, e.g., id., ¶¶ 104-107.
       77
            See, e.g., id., ¶¶ 108-109.
       78
            Defs’ Mem. at 11.
       79
           See PX076, Tr. of July 8, 2020 Dep. of Jon Clark (”J. Clark Dep.”), at 106:13-19 (“In my
    experience with review work, consulting work and everything, I would expect a generic firm who
    is interested in getting approved and on the market, especially one with an exclusivity, I would
    expect them to get the approval they can get, when they can get it …”).
       80
            In re Namenda Direct Purchaser Antitrust Litig., 331 F. Supp. 3d 152 (S.D.N.Y. 2018).



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    In Namenda, the court excluded the expert’s opinions because they largely regurgitated the

    testimony of fact witnesses.81 Here, Jon Clark’s opinions are based on his review and interpretation

    of Glenmark’s ANDA and other regulatory documents and his own experience reviewing and

    advising manufacturers concerning such applications. There is no single document or group of

    documents that show how Glenmark would have obtained approval to come to market earlier

    absent its illegal agreement with Merck. Jon Clark’s expertise will help the jury to understand the

    regulatory issues and decide when a reasonable company in Glenmark’s position was likely to

    have obtained regulatory approval absent the agreement to stay off the market until December

    2016. 82

                   2.      Jon Clark’s Opinions Are Consistent With The Facts And The
                           Requisite Legal Standard

            Defendants argue that Jon Clark’s opinion that a reasonable generic in Glenmark’s position

    would have sought earlier approval is inconsistent with the facts because Glenmark did not act the

    way that Jon Clark says a reasonable generic company would act. They say his opinion must be

    excluded because Glenmark did not seek approval as soon as possible in 2010, as Jon Clark opines


       81
          See id. at 172 (“the only thing [the] ‘expert’ opinion does is bolster the credibility of the
    30(b)(6) witnesses”).
       82
           See e.g., Antrim Pharm. LLC v. Bio-Pharm, Inc., 950 F.3d 423, 430-31 (7th Cir. 2020)
    (allowing expert to opine on the implications of certain FDA regulations “when that testimony
    assists the jury in understanding a party’s actions within that broader framework”); In re Mirena
    IUD Prods. Liab. Litig., 169 F. Supp. 3d 396, 478-79 (S.D.N.Y. 2016) (same).
        Defendants’ citation to In re Trasylol Prods. Liab. Litig., 709 F. Supp. 2d 1323 (S.D. Fla. 2010)
    likewise fails. In Trasylol the expert opinion “mostly consists of a factual narrative of Trasylol’s
    regulatory history and summaries of Bayer’s internal documents. Dr. Parisian does not analyze the
    facts; she … regurgitates them and reaches conclusory opinions” including “opinions regarding
    Bayer’s and the FDA’s state of mind and knowledge[.]” Id. at 1346. Jon Clark’s analysis of
    Glenmark’s ANDA and its earlier opportunities for approval, among other things, differ
    substantially from the conclusory opinions that were excluded in Trasylol. Defendants’ citation to
    Cooper v. Smith & Nephew, Inc., 259 F.3d 194 (4th Cir. 2001), which concerns expert opinions
    on the safety of a medical device, should also be disregarded.



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    a reasonable company would do, but rather waited until 2014. Far from representing a reason to

    preclude Jon Clark’s opinions, the difference between what Glenmark actually did and what a

    reasonable generic company would do is precisely why Jon Clark’s opinion is helpful to the jury.

            Glenmark did not actually seek regulatory approval as soon as possible because Merck paid

    it, with the no-AG agreement, not to enter until December 2016. The question that the jury must

    answer is whether a reasonable company in Glenmark’s position would have acted differently

    absent that payment.83 Jon Clark’s opinion will assist the jury to determine how a reasonable

    company would act absent the conduct challenged in this case.84

            Jon Clark describes “two options” that were available to Glenmark “for obtaining earlier

    approval of its ANDA.” And, based on his experience working with and advising generics, he

    explained that a generic manufacturer will seek approval at the earliest opportunity.85            By

    providing a road map as to what a reasonable generic company seeking to come to market will do,

    Jon Clark’s opinions will assist the jury to assess whether a reasonable company in Glenmark’s

    position would have been able to get approval earlier. If the jury gets to the causation stage, it will

    have already concluded that Merck paid Glenmark to delay its generic entry. The actual conduct


       83
           See, e.g., United Food & Commercial Workers Local 1776 & Participating Employers
    Health & Welfare Fund v. Teikoku Pharma USA (“Lidoderm”), 296 F. Supp. 3d 1142, 1162 (N.D.
    Cal. 2017) (noting that in “the antitrust context . . . profit-maximizing goals [are] assumed”); id.
    at 1179 n.42 (“in construct[ing] but-for world scenarios, there is a presumption of economic
    rationality”).
       84
           See Kleen Prods. LLC v. Int’l Paper Co., 831 F.3d 919, 927 (7th Cir. 2016) (a plaintiff may
    establish antitrust injury through “an expert construction of a hypothetical market free of any
    anticompetitive restraint”); In re Asacol, 323 F.R.D. at 488 (explaining that “in antitrust suits,
    juries are allowed to act on probable and inferential as well as (upon) direct and positive proof”)
    (internal quotation omitted))
       85
         PX076, Jon Clark Dep., at 106:13-19 (“In my experience with review work, consulting work
    and everything, I would expect a generic firm who is interested in getting approved and on the
    market, especially one with an exclusivity, I would expect them to get the approval they can get,
    when they can get it …”).



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    of an antitrust violator does not limit how a reasonable company would act in the hypothetical

    world absent the challenged conduct.86 Because Jon Clark’s opinions are consistent with the

    record, and are part of the evidence that purchasers offer to establish a benchmark for what would

    have happened absent Defendants’ reverse payment, Defendants’ argument should be rejected.

                    3.      Jon Clark’s Opinions Are Relevant To The Causation Issues In This
                            Case.

             Defendants argue that Jon Clark’s opinions concerning a “hypothetical reasonable generic

    firm [are] irrelevant and unhelpful to the jury in understanding the circumstance confronting

    Glenmark in this case.”87 Defendants are wrong.

             In analyzing causation, the relevant question is how a reasonable company seeking to

    maximize its profits would have acted absent the unlawful conduct.88 The opinions in Jon Clark’s

    Report and Rebuttal Report answer this question:

             In my opinion, a reasonable generic manufacturer in Glenmark’s position, with an
             ANDA that is eligible for approval with reference to an adequate DMF [the Process
             I DMF], would request final approval at its first opportunity. If there is a better
             source of API available, either because of regulatory, technical, safety or economic
             reasons, a reasonable generic manufacturer in Glenmark’s position would request
             final approval and then change the API supplier after approval”;89

       86
          See Lidoderm, 296 F. Supp. 3d at 1190 (rejecting argument that expert’s opinion is not based
    on sufficient facts in the record, “[b]ecause this case is set in a but-for world, it is not surprising
    that no evidence shows that defendants were contemplating anything other than the actual
    Settlement”); see also In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., 2018 WL
    563144, at *21 (D. Mass. Jan. 25, 2018).
       87
            Defs’ Mem. at 14.
       88
           See, e.g., Lidoderm, 296 F. Supp. 3d at 1162 (noting that in “the antitrust context . . . profit-
    maximizing goals [are] assumed”); id. at 1179 n.42 (“in construct[ing] but-for world scenarios,
    there is a presumption of economic rationality”); Dolphin Tours, Inc. v. Pacifico Creative Serv.,
    Inc., 773 F.2d 1506, 1511 (9th Cir. 1985) (holding that the plaintiff “must presume the existence
    of rational economic behavior” in a “hypothetical free market” absent “the anticompetitive
    activity”); see also In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., 2018 WL 563144,
    at *21 (D. Mass. Jan. 25, 2018) (discussing the evidence necessary to establish “rational, lawful
    business choices” in support of a “but-for theory of causation”).
       89
            PX042, J. Clark Report, ¶108.



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             An alternative approach to this approval process would be to delay the request for
             final approval until all of the API sources are included through amending the
             ANDA before it is approved … Under this approach, a reasonable generic
             manufacturer in Glenmark’s position would request final approval at the time that
             both [the MSN DMF] (August 15, 2013) and [the Process II DMF] (September 27,
             2013) were found adequate;90

             Glenmark had two options for obtaining earlier approval of its ANDA … These
             two timelines are set forth in detail below.91

             At his deposition, Jon Clark further explained that reasonable generic companies seek to

    get approval as soon as possible and identified how Glenmark could have done so.92

             Defendants’ cases are inapplicable. In re TMI Litig.,93Trana Discovery, Inc. v. Southern

    Research Institute,94 and Wise v. C.R. Bard, Inc.,95 are not antitrust cases and do not address expert

    testimony relevant to establishing a hypothetical but-for causation theory. And, in Concord Boat

    Corp. and El Aguila, expert opinion testimony was excluded because the expert ignored relevant

    and substantial parts of the record.96 As set forth above, Jon Clark’s opinions as to opportunities



       90
            Id., ¶109.
       91
         PX043 J. Clark Rebuttal, ¶50 (detailed charts setting forth each regulatory step for the earlier
    approval of Glenmark’s ANDA).
       92
            PX076, J. Clark Dep., at 108:6-10 (“in all of my experience, Timeline A is used. And, in
    fact, firms looking at approval will get that approval they can get, when they can get it, even if it
    means dropping parts of the application to get it.”); id. at 106:13-19 (“In my experience with
    review work, consulting work and everything, I would expect a generic firm who is interested in
    getting approved and on the market, especially one with an exclusivity, I would expect them to get
    the approval they can get, when they can get it …”).
       93
            In re TMI Litig., 193 F.3d 613 (3d Cir. 1999).
       94
            Trana Discovery, Inc. v. Southern Research Institute, 915 F.3d 249 (4th Cir. 2019).
       95
            Wise v. C.R. Bard, Inc., 2015 WL 521202 (S.D. W. Va. Feb. 7, 2015).
       96
           See Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1056-57 (8th Cir. 2000) (“[n]ot
    all relevant circumstances were incorporated into the expert’s method of analysis” and the expert
    “ignored inconvenient evidence” and “failed to account for market events”); El Aguila Food Prod.,
    Inc. v. Gruma Corp., 131 F. App'x 450, 454 (5th Cir. 2005) (expert “did not examine sales data
    from retailers in the relevant markets to determine whether space allocation among the various



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    for earlier ANDA approval and what a reasonable generic in Glenmark’s position would do are

    based entirely on the facts of record and his experience working with pharmaceutical

    manufacturers seeking regulatory approval.

             Defendants’ claim that Jon Clark “made no attempt to understand Glenmark’s decision-

    making process and why it was different from what he would expect” does not justify the exclusion

    of Jon Clark’s opinion.97 Jon Clark does not offer an opinion on the reasons why Glenmark

    delayed seeking approval. Jon Clark’s deposition testimony was clear on this point.98 There is no

    need for Jon Clark to offer an opinion on why Glenmark acted the way that it did in the actual

    world. If the jury gets to the question of causation, it will have already answered that question:

    Glenmark did not act like a reasonable generic company because it violated the antitrust laws by

    entering into the no-AG agreement with Merck in exchange for delaying generic entry. The jury’s

    task at the causation stage is to identify a benchmark to isolate the effects of that conduct. Jon

    Clark’s opinion on how a reasonable generic company would have acted is directly relevant to that

    question and should not be excluded.

             B.     Todd Clark’s Challenged Opinions Are Reliable

                    1.     Todd Clark’s Opinions Regarding Teva’s And Sandoz’s Abilities To
                           Introduce Generic Zetia Before December 2016 Are Properly Based
                           On His Experience And The Evidence.

             Defendants argue that Todd Clark’s opinions that Teva and Sandoz were likely to enter

    earlier if Glenmark entered earlier are unreliable because he did not use the kind of modelling that




    brands was disproportionate to their sales” among other things).
       97
            Defs’ Mem. at 13.
       98
          PX076, J. Clark Dep., at 145:24-146:4 (“I'm just saying that the actions I would have
    expected, I've laid out. Those actions didn't happen. I expect a reasonable firm to follow those
    actions. Glenmark did not. I don't know why.”).



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    they claim he uses in his consulting practice to predict whether other generic entrants would enter

    the market.99 However, the Monte Carlo Analysis (“MCA”) that Defendants point to is a

    methodology that Todd Clark uses when he has little or no information about the potential generic

    entrants.100 The MCA is a less accurate substitute for actual data when such data is not available.

    That is not the case here, where the discovery record and the benefit of hindsight provide

    significant actual information about the potential entrants.

             As Todd Clark explains in his reports and deposition, here, he considered testimony and

    contemporaneous internal documents from Teva and Sandoz, as well as their

                                                  This information allowed him to apply his experience

    to the actual ANDAs filed by Teva and Sandoz to form opinions concerning when they would

    have likely been able to get approval and launch if Glenmark had entered the market earlier.

    Models like MCA based on competitive intelligence are inferior to conclusions based on a full

    record of real world information produced in discovery.101 Here, Todd Clark had the benefit of

    considering the actual ANDAs filed by Teva and Sandoz and approved by the FDA, the economic

    attractiveness of the opportunity to introduce generic Zetia, the degree of difficulty involved in

    making the drug,102 the time that it took other generic applicants to get approval for their generic

    Zetia ANDAs, and the time frame in which Teva and Sandoz got approval for their generic

    versions of Zetia in other countries with comparable regulatory requirements but without the 180-


       99
            Defs’ Mem. at 16-17.
       100
            PX077, Tr. of July 2, 2020 Dep. of Todd Clark (“T. Clark Dep.”), at 56:07-65:13
    (explaining that for non-litigation consulting, forward-looking models based on press releases and
    competitive intelligence may be used, e.g., to quantify the players expected in injectables or
    biosimilars).
       101
             PX077, T. Clark Dep., at 23:11-12 (“I had access to the full record”).
       102
           Id., at 100:03-102:03 (opinions are based on “[t]he totality of the evidence and my
    experience as opposed to a spreadsheet”).



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    day exclusivity barrier. Defendants’ argument rests on the false premise that there is only one way

    to estimate the timing of generic entry applicable in all situations. But different situations call for

    different analyses. As Todd Clark testified, there are many types of models.103 The Fourth Circuit

    has similarly recognized: “Choosing the test to apply is a matter of selecting the appropriate tool

    for the task, and involves consideration of a variety of factors including the type of data.”104 Todd

    Clark’s consideration of the specific evidence concerning the approval and launch of the Teva and

    Sandoz’s generic versions of Zetia does just that. There was no need for him to ignore more

    accurate actual data and instead rely on a purely statistical approach such as MCA.

             Experts like Todd Clark are permitted to apply their experience to the facts as he did in this

    case.105 In fact, another court allowed Todd Clark to offer such opinions in a similar delayed-

    generic-entry pharmaceutical antitrust case despite a challenge similar to that asserted here by

    defendants.106 Defendants do not contest that Todd Clark analyzed the relevant documents and

    testimony or used appropriate benchmarks and analogues, in light of his experience, to opine on

    entry timing.107


       103
             Id., at 101:10-102:03.
       104
             In re Lipitor (Atorvastatin Calcium), 892 F.3d. 624, 634 (4th Cir. 2020).
       105
           See, e.g., Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156 (1999) (“But no one denies
    that an expert might draw a conclusion from a set of observations based on extensive and
    specialized experience.”); Morgan v. On Deck Capital, Inc., 2019 WL 4093754 (W.D. Va. Aug.
    29, 2019) (allowing those expert opinions based upon accurate facts and expert’s decades
    experience); Franklin v. Home Depot U.S.A., 2007 WL 8081421 (W.D. Va. June 16, 2007)
    (allowing those expert opinions based upon accurate facts and expert’s decades experience).
       106
           In re Asacol Antitrust Litig., 323 F.R.D. 451, 466-67 (D. Mass. 2017) (allowing Todd
    Clark’s opinions regarding timing and extent of generic entry where he used historical information
    and his experience rather than a “quantitative simulation”).
       107
           Like the defendant in Krakauer v. Dish Network, L.L.C., Defendants do not challenge Todd
    Clark’s qualifications, his data or contend his methodology was unsound, but merely that he did
    not use a deterministic model. 2015 WL 5227693, at *14 (M.D.N.C. Sept. 8, 2015) (observing the
    court must “determine reliability in light of the proposed expert’s full range of experience and
    training as well as the methodology used to arrive at a particular conclusion.”) (quoting Am. Honda



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             Unlike the excluded expert in In re Lipitor, Todd Clark’s opinions about the approval and

    launch timing of Teva and Sandoz are not based on cherry-picked data outside his area of

    expertise.108 Todd Clark considered the historical facts, including (i)

                                         ;109 (ii)

                                                                 ;110 (iii) the ability of multiple less-

    sophisticated generic companies to obtain FDA approval and commercialize generic Zetia on a

    substantially more accelerated basis than these global generic giants when needed to meet the

    target launch date;111 (iv) the approval of Teva and Sandoz’s Zetia generics in other countries with

    similar drug regulatory systems long before their approval in the U.S.;112 and (v) Rule 30(b)(6)

    testimony from Teva and Sandoz that



    by the agreement between Glenmark and Merck and the resulting bottleneck preventing the final

    approval of subsequent generics.113

             Citing Holesapple,114 Defendants assert that Todd Clark’s opinions should be excluded as

    merely his “say-so.” But the Holesapple court excluded the admiralty expert in a maritime

    negligence case because he did not consider “standard indicia” relevant to the accident such as

    weather reports, wave height, and reports from nearby vessels: “All of these factors should have


    Motor Co. v. Allen, 600 F. 3d 813, 816 (7th Cir. 2009)).
       108
             In re Lipitor, 892 F.3d at 636-38.
       109
             PX044, T. Clark Report, ¶¶ 52, 57, 70.
       110
             Id., ¶¶ 58, 72.
       111
             Id., ¶¶ 49-52.
       112
             PX045, T. Clark Rebuttal, ¶¶ 32-37.
       113
             PX044, T. Clark Report, ¶¶ 59-61, 73-79.
       114
             Holesapple v. Barrett, 5 F. App’x 177 (4th Cir. 2001).



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    absent Defendants’ violation. There is no such burden. When constructing a but-for world,

    everything from the actual world remains the same except for the antitrust violation and its

    anticompetitive effects.119 Here, there is no claim or evidence that the

                                         causes because of Merck’s offer of a no-AG provision to

    Glenmark. Because                                                are not part of this antitrust violation

    or affected in any way by it, as a matter of law,                                                  must

    remain unchanged in the but-for world.120 Thus, an expert offering an opinion relevant to the but-

    for world need not specifically opine on whether conduct that occurred for reasons unrelated to the

    violation would remain in the but-for world.



       119
           See Bigelow v. RKO Radio Pictures, Inc., 327 U.S. 251, 259, 263 (1946) (referring to proof
    of plaintiff’s experience “in the absence of” the restraints or “if the restraints had not been
    imposed”); Nat’l Farmers Org., Inc. v. Associated Milk Producers, Inc., 850 F.2d 1286, 1306 (8th
    Cir. 1988) (stating that damages measure “the difference between [plaintiff’s] performance in a
    hypothetical market free of all antitrust violations and its actual performance in the market infected
    by anticompetitive conduct”); Kleen Prods. LLC v. Int’l Paper Co., 831 F.3d 919, 927 (7th Cir.
    2016) (explaining that a “plaintiff could satisfy its burden” to establish antitrust injury through “an
    expert construction of a hypothetical market free of any anticompetitive restraint”); Blades v.
    Monsanto Co., 400 F.3d 562, 569 (8th Cir. 2005) (explaining that hypothetical market must be
    “free of the restraints and conduct alleged to be anticompetitive”) (quoting Concord Boat Corp. v.
    Brunswick Corp., 207 F.3d 1039, 1055 (8th Cir. 2000)); Exhaust Unlimited, Inc. v. Cintas Corp.,
    223 F.R.D. 506, 513 (S.D. Ill. 2004) (“To establish impact, an expert must ‘construct a hypothetical
    market, a but-for market, free of the restraints and conduct alleged to be anticompetitive.’”)
    (quoting Sample v. Monsanto Co., 218 F.R.D. 644, 650 (E.D. Mo. 2003)); Apotex, Inc. v.
    Cephalon, Inc., 321 F.R.D. 220, 236 (E.D. Pa. 2017) (“When recreating a but-for world to establish
    antitrust damages, a plaintiff must create a world ‘characterized by the absence of the . . .
    challenged practices.’”) (quoting Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Grp.,
    L.P., 247 F.R.D. 156, 165 (C.D. Cal. 2007)).
       120
            In re Disposable Contact Lens Antitrust Litig., 329 F.R.D. 336, 419 (M.D. Fla. 2018) (“A
    properly defined ‘but for’ world is one in which all aspects of the actual world remain unchanged
    except for the effects caused by the restraint of trade at issue. Defendants’ experts misapprehended
    the correct definition of the but-for world, which leads them to focus mistakenly on insurance
    reimbursements, rebates and discounts, all of which would have remained unchanged in the ‘but
    for’ world.”); In re Blood Reagents Antitrust Litig., 2015 WL 6123211, at *16 (E.D. Pa. Oct. 19,
    2015) (damages expert needs not account for increases in demand where there was “no evidence
    in the record that TBR price increases were caused by increases in aggregate demand for blood”).



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    and that are not challenged as anticompetitive, would also occur in the but-for world. They exist

    in the actual world and would exist in a world without Merck and Glenmark’s unlawful conduct,

    because




              The only case Defendants cite on this point, Lee v. City of Richmond,124 has nothing to do

    with the standard for an expert opinion regarding the but-for world in an antitrust case, and

    provides no support for their argument. In that case, the court rejected an expert opinion regarding

    the appropriate standard of conduct for a police officer using deadly force because the proposed

    expert admitted that “I don’t know what the standard is and you don’t know what the standard is

    and nobody is really going to be able to really nail that standard down.”125 The judge rejected the

    opinion because the expert “has reduced his opinions on compliance to ipse dixit entirely devoid

    of meaningful principles.”126 In contrast, Clark more-than-adequately explains



                                                                  . His observations on the issue are not

    ipse dixit but rather                                           , as well as his extensive knowledge

    and decades of experience with generic drug development and commercialization, and the

    incentives and regulatory system governing them.




        124
              Lee v. City of Richmond, 2014 WL 5092715, at *7 (E.D. Va. Sept. 30, 2014).
        125
              Id.
        126
              Id.



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    VII.      CONCLUSION

              For the foregoing reasons, Defendants’ Motion to Exclude Proposed Expert Opinions and

    Testimony of Plaintiffs’ Generic Launch Timing Expert Jon Clark and Todd Clark should be

    denied.

    Dated: September 11, 2020                       /s/ Adam M. Carroll
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                                    CERTIFICATE OF SERVICE

           I, Adam M. Carroll, certify that, on this date, the foregoing document was filed

    electronically via the Court’s CM/ECF system, which will send notice of the filing to all counsel

    of record, and parties may access the filing through the Court’s system.


    Dated: September 11, 2020                            /s/ Adam M. Carroll




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